  1     Linda Shao, Esq. (SBN 182768)
        Law Offices of Linda Shao
  2     A Professional Law Corporation
        20380 Town Center Lane, Suite 218
  3     Cupertino, CA 95014
  4     Telephone: (408) 873-3888
        Facsimile No. (408) 873-3889
  5
        Attorney for Law Offices of Linda Shao, APLC and in pro per
  6
  7
                                   UNITED STATES BANKRUPTCY COURT
  8                                NORTHERN DISTRICT OF CALIFORNIA
                                           OAKLAND DIVISION
  9
 10                                   In re:                                   Case No. 01-45924 TD
                                                                               Chapter 7
 11     MEDIA GROUP, INC.

 12                   Debtor.                                                  OPPOSITION TO TRUSTEE’S
                                                                               MOTION FOR AWARD OF
 13                                                                            DAMAGES AGAINST LINDA
                                                                               SHAO AND LAW OFFICES OF
 14                                                                            LINDA SHAO, A PROFESSIONAL
                                                                               LAW CORPORATION
 15                                                                            Date: October 6, 2005
 16                                                                            Time: 2:00 p.m.
                                                                               Room 201
 17
 18    I.        INTRODUCTION

 19    This motion brought by Trustee is apparently a retaliation

 20    against Linda Shao and her firm (“Shao”) for being affirmed

 21    for this court’s sanction for Rule 9011 violation by Trustee

 22    after her appeal, and having to go through investigation by

 23    U.S. Trustee’s Office for her own misconducts.                                           In doing

 24    this, Trustee neglected her duty to preserve the assets of

 25    the estate and persisted on wantonly wasted the assets of the

 26    estate.            Trustee also neglected how she and her attorney have

 27    harassed and damaged Shao by filing the first adversary

 28
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       proceeding against Shao.                               Her first adversary proceeding

  1    caused Shao to expand about $20,000 fees and costs and her

  2    appeal caused Shao to expand another about $14,000 fees and

  3    costs. (Declaration of Linda Shao supporting Motion for

  4    Sanction filed on October 13, 2004)

  5              Shao issued a subpoena upon Trustee’s attorney, not upon

  6    Trustee, as a percipient witness, not for the purpose of

  7    investigation over the Trustee.                                         Trustee’s attorney never

  8    informed Shao that they may present the documents requested

  9    in the subpoena for Shao to copy, as what the court ruled on

 10    June 30, 2004. (See Transcript of June 30, 2004)

 11              On May 7, 2004 late afternoon of Friday, Trustee’s

 12    attorney faxed a letter to Shao. The letter did not mention

 13    Trustee would file for a TRO. (Declaration of Stromsheim,

 14    Exhibit C)               The letter only asked Shao to withdraw.                             Her

 15    office never called Shao about whether Shao received the

 16    letter or not.

 17              On the next business day, May 10, 2004, Monday,

 18    Trustee’s attorney could not waite to file the TRO.                                          She

 19    faxed her letter of May 10, 2004 as shown in EXHIBIT D to

 20    Shao at about 4:00 p.m. even though she had filed the TRO at

 21    that time. Then, Trustee’s attorney faxed the TRO to Shao

 22    after 7:00 p.m. of May 10. (Please see Declaration of Linda

 23    Shao opposing the TRO filed on about May 13, 2004.) The

 24    moving paper specifically hid the important fact from the

 25    court: Trustee’s attorney filed for a TRO without a proper

 26    notice or warning to Shao, where there was no urgency that

 27    the TRO could not be waited by one day to May 11 as the

 28    deposition time was originally on May 19 and later agreed to
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       May 27. Trustee would attached a fax transmission log to May

  1    7's letter in her Exhibit C but not to May 10's letter, as

  2    Trustee’s attorney intended to hide this fact from the court.

  3
  4              A new Adversary Proceeding No. 04-04153 was filed with the

  5    court WITHOUT A SUMMON.                             Thus, at the time the TRO was filed

  6    and faxed, Shao was not served with a Summon.

  7              Trustee’s attorney alleged an absolute immunity in

  8    making the TRO.                     The court, in ruling that Shao should

  9    request leave of the court to take deposition of Trustee’s

 10    attorney before issuing subpoena, stated that there is

 11    argument whether Trustee’s attorney may have any sort of

 12    immunity and that there is no absolute immunity as alleged by

 13    Trustee.             Shao followed the court’s instruction and

 14    immediately filed and served the motion for leave to take

 15    deposition of Reidum Stromsheim on May 13, 2004.                                        The issue

 16    then became moot.                       Simultaneously with the filing of the

 17    motion, Shao filed a motion to disqualify trustee based on

 18    trustee’s numerous misconducts that affected her including

 19    but not limited to trustee’s attorney’s failure to respond to

 20    her request for inspection of Media Group’s bank statements.

 21              Even though the court had instructed that the issue for

 22    maintaining the second adversary proceeding may be moot,

 23    Trustee’s attorney persisted on maintaining it.                                         This

 24    situation was the same as what happened in the first

 25    adversary proceeding against Shao.                                      In the first frivolous

 26    adversary proceeding filed by Trustee against Shao, the court

 27    stated in May 2003 that Shao did not violate automatic stay

 28    in reducing Trustee’s fee application by about $4,000.
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       Despite of the court’s comments, Trustee’s attorney

  1    maintained the first adversary proceeding in violation of

  2    Rule 12, which forced Shao to file Rule 11.

  3              On June 30, 2004 when the court deny Shao’s motion to

  4    disqualify Trustee and Trustee’s attorney for procedural

  5    defect, the court commented that an OSC should be issued if

  6    Scott Goodsale did not apply for fee within a certain period

  7    of time.             However, Ms. Stromsheim did not follow the court’s

  8    instruction and did not make an application for OSC at all.

  9    Up to today, Shao has not received any notice if Scott

 10    Goodsale ever filed such application.

 11              Based on Trustee’s attorney’s second Rule 12 violation,

 12    Shao filed for a motion to dismiss on June 14, 2004 which was

 13    granted by the court on November 18, 2004.                                      Shao did not do

 14    Rule 11 motion.                     Trustee’s attorney’s persistence on

 15    maintaining the moot adversary proceeding and asking

 16    unreasonable overbroad injunctive relief in the proceeding

 17    caused Shao to suffer damages of about $20,000.                                       Trustee’s

 18    attorney’s harassment by the two proceedings have caused Shao

 19    to suffer about $60,000.

 20              The transcript of November 18, 2004 showed the

 21    following:

 22
             “         MS. SHAO: Your Honor, if I may. I have
 23          summarized –- the issue is already moot because I did
 24          seek the Court’s approval, even though the Court
             denied it, but I did try to file a motion to seek the
 25
             Court’s approval according to the Court’s injunction,
 26          and it also corresponds to the Court’s tentative
 27          ruling issued on June 30th. And I already presented to
             the Court some relevant pages of that transcript.
 28
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                       Number two reason that this motion should be
             denied was because the Trustee failed to show that she
  1
             elected an adequate remedy at law. Since the Court
  2          already denied my motion for leave to take deposition,
  3          there is already a legal remedy. I must be bound by
             the Court order and I won’t do anything beyond, you
  4
             know, in contempt of the Court’s order. There’s
  5          already remedy at law. You know because there’s
  6          adequate remedy at law, this motion for permanent
             injunction, for summary judgment, should be denied.
  7
                       Number three, the Trustee failed to show she
  8          would likely suffer irreparable harm should the
  9          injunction not be granted. And number four reason
             that this motion should be denied is because the
 10
             Trustee’s request for absolute and complete injunctive
 11          relief is overbroad and not appropriate.
 12                    Therefore –- and the Court also has
             authority to request dismissal to make a process where
 13
             there is summary judgment for our side because there’s
 14          really –- the issue for the whole complaint is already
 15          moot.
                       Thank you, Your Honor.
 16
                       THE COURT: Okay. Ms. Shao’s memory is the
 17          same as mine that I ruled that she had to file a
 18          motion and get leave of Court to depose either you or
             the Trustee.
 19
                       MS. STROMSHEIM: Yes.
 20                    THE COURT: And that she did file one and I
 21          denied it. So –-
                       MS. STROMSHEIM: All right. I was not aware
 22
             –- I had –- and we talked about it at the office, it
 23          had not –- it was not clear to us that that motion had
 24          been denied. It was our belief that after that, there
             were more pleadings that were going to be filed by Ms.
 25
             Shao so that the issue remained undecided.
 26                    THE COURT: I believe it’s been decided and I
 27          think –-
                       MS. STROMSHEIM: If that has been decided,
 28
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             that that motion is denied, then the only issue that
             remains are the damages to the estate against Ms. Shao
  1
             for having violated the automatic stay by going
  2          forward with the notice of the depositions in the
  3          first place.
                        THE COURT: Did I rule that she had violated
  4
             the automatic stay by doing that?
  5                     MS. STROMSHEIM: There has not been a –-
  6                     THE COURT: Did you file a motion for
             damages, or is that included as a claim in the
  7
             complaint?
  8                     MS. STROMSHEIM: It is included as an element
  9          of the complaint, Your Honor.
                        THE COURT: Okay. So not just the issue of
 10
             damages, but whether by noticing the deposition she
 11          did violate the automatic stay.
 12                     MS. STROMSHEIM: That’s right. That’s right.

 13
                       THE COURT: And is that part of your motion
 14          for summary judgment?
 15                    MS. STROMSHEIM: No, Your Honor.
                       THE COURT: Okay.
 16
                       MS. STROMSHEIM: No. The summary judgment
 17          was only on the injunction. It was partial summary
 18          judgment.
                       THE COURT: Okay. So how do you wish to
 19
             proceed on that?
 20                    MS. STROMSHEIM: I believe that it is
 21          something that we could –- in the status conference,
             we had a statement –- we had said that we could ask to
 22
             have it set for trial. However, I do believe that is
 23          something that could be submitted on the papers.
 24                    THE COURT: I would think so as well. It
             seems to me that the first threshold question is
 25
             whether by noticing those depositions, she violated
 26          the automatic stay.
 27                    MS. STROMSHEIM: Yes.
                       THE COURT: And if I conclude that she does,
 28
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          then you could file something that shows your damages.
                     MS. STROMSHEIM: Exactly.
  1
                     THE COURT: If I conclude that it didn’t,
  2       then you would have saved some time –-
  3                  MS. STROMSHEIM: That’s right.
          ....
  4
                     THE COURT: Ms. Stromsheim is saying there is
  5       still one issue that she would like resolved that’s part of
  6       the complaint, and that is she alleges in the complaint
          that by noticing her deposition, you violated the stay and
  7
          the estate is entitled to damages. I suggested that we set
  8       a briefing schedule for just the issue of whether in fact
  9       it was a violation of the automatic stay for you to notice
          the deposition without first seeking leave of Court. And
 10
          so I was just soliciting your opinion about whether that
 11       made sense.
 12                  MS. SHAO: Oh. I don’t think that makes sense,
          but I would defer to Your Honor’s decision. The reason why
 13
          I don’t think that makes sense because this is the first
 14       time I heard about the issue raised by the Trustee as to
 15       all these –- that I ever violated the automatic stay, which
          was not mentioned in the complaint at all that –-
 16
                     THE COURT: Well, if it’s not mentioned in the
 17       complaint, then it may not be proper. Ms. Stromsheim told
 18       me that it was in the complaint. Can I see the file,
          please?
 19
          .....
 20             MS. STROMSHEIM: I think I have number one here. Okay.
 21       No. 5 –- this is a complaint –- it’s titled “Complaint for
          Injunctive Relief,” and then first claim for relief,
 22
          “Injunctive Relief and Damage under 11 U.S.C. Section 105.”
 23                  THE COURT: Oh, not 362, 105.
 24                  MS. STROMSHEIM: That’s right, 105. That’s right.
                     THE COURT: So not violation of the stay.
 25
                     MS. STROMSHEIM: That’s right.”
 26       (Transcript 7:2–9:10)
 27   As shown in the transcript of November 18, 2004, the court

 28   instructed Ms. Stromsheim that if there is no violation of stay
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      by Shao then there is no need for a motion for damages. The court

  1   did not make any briefing schedule in response to Ms.

  2   Stromsheim’s asking for ruling on monetary damages for the reason

  3   that the court found the request was improper as Ms. Stromsheim

  4   did not allege 362 violation in the complaint for the second

  5   adversary proceeding.                           The court dismiss the complaint in

  6   considering Shao’s motion to dismiss based on Rule 12.

  7             On or about July 21, 2005, eight (8) months after the

  8   court’s dismissal of the second complaint.

  9   II.       LAW AND ARGUMENT

 10   A.        TRUSTEE FAILED TO PROVIDE ANY AUTHORITY TO WARRANT THIS

 11             MOTION

 12             The court already stated that the proper basis for this

 13   motion should be 362, not 105, if Shao did violate automatic stay

 14   in issuing the subpoena upon Trustee.                                     (Shao actually issued

 15   subpoena upon Trustee as a percipient witness.)

 16             Contempt sanctions under 11 USC 105(a) are similar to those

 17   awarded for a willful violation of the automatic stay.                                           To find a

 18   party in civil contempt, the moving party must show by clear and

 19   convincing evidence that the contemnor violated a specific order

 20   of the court.                  In re Dyer, 322 F.3d 1178, 1191 (9th Cir. 2003).

 21   There was no such order mentioned in the complaint.                                          There was no

 22   proof of intention or malice or any proof that Shao would due

 23   Trustee’s attorney.                         There was no clear authority in this circuit

 24   that trustee’s attorney has the same immunity as the trustee.

 25             There was no authority ever provided by Trustee for

 26   Trustee’s defending a motion against her which was filed without

 27   a violation of Rule 11 entirely in this court.

 28   B.        THE COURT HAS RULED THAT THERE WAS NO GROUND FOR TRUSTEE TO
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                FILE A MOTION FOR ATTORNEYS FEES AND COSTS BASED ON SECTION

  1             105 AND INSTRUCTED MS. STROMSHEIM TO SAVE HER TIME ON THIS

  2             MOTION as shown in the transcript exerted above in the

  3             Introduction portion of this Opposition.

  4   C.        TRUSTEE’S COMPLAINT WAS DISMISSED SUCH THAT SHE IS NOT

  5             ENTITLED TO FILE THIS MOTION BASED ON 105 AT A TIME EIGHT

  6             MONTHS LATER

  7   D.        TRUSTEE SHOULD NOT BE AWARDED THE FEES AND COSTS AS SHE

  8             REQUESTED

  9             1.         Trustee’s permissible scope of fees if justified is
                           restricted to the time occurred after noticing Shao and
 10                        before Shao served the motion for leave of the court to
                           take deposition of Stromsheim.
 11
                Once Shao sought leave of the bankruptcy court Shao was following proper
 12
      procedure and subsequent damages requested are not warranted. Ms. Stromsheim
 13
      seems to admit this in her brief (6:16-:17): “Even though Shao filed a motion for leave to
 14
      sue, that does not erase her prior violative actions and the damages caused by those
 15
      actions” (emphasis added). Since the vast majority of the $29k damages claimed by
 16
      Stromsheim accrued after we filed our motion for leave of court (about $24,551), she
 17
      should not be entitled to the damages as requested.
 18
                Since Shao was not given notice of Stromsheim’s objection until May 7, 2004,
 19
      Shao could not be held responsible for any fees and costs occurred before that time,
 20
      either.
 21
                2.         Trustee’s motion was done without any prior warning or notice and
 22
      was made before a Summon was filed.
 23
                Before Trustee filed with the court of the TRO and complaint
 24
      (without a Summon), Shao was never made known to what the Trustee
 25
      would be doing.                    The alleged only one notice was embodied in
 26
      Exhibit D, a letter of May 10 to Shao which was not faxed to Shao
 27
      until the time the TRO and Complaint were already file with the
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       court.          Trustee specifically held the court papers from serving

   1   until 7:00 p.m. on May 10.                                 The first complaint about the

   2   subpoena was made only in the late afternoon of the preceding

   3   Friday, May 7.                   Thus, it is grossly unfair to charge Shao the

   4   fees for Trustee’s filing of the TRO and Complaint.                                         Thus,

   5   Trustee should not be entitled to an award.

   6             3.         Trustee’s unclean hands caused Shao more damages

   7             Trustee wrongfully maintained the motion and complaint in

   8   violation of Rule 12 despite of the court’s advice that the issue

   9   has become moot when Shao filed for a motion for leave of the

  10   court to take deposition of the Trustee’s attorney. In the first

  11   adversary proceeding against Shao, Trustee had already violated

  12   Rule 12 and be sanctioned under Rule 11.                                      While Trustee spent

  13   about $25k after May 13, 2004, Trustee should expect Shao to

  14   expand at least a comparable amount of time and money to defend.

  15   Shao further was forced to file a motion to dismiss.                                          Shao might

  16   be entitled to Rule 11 sanction but Shao did not proceed.                                           In

  17   comparison of what Shao suffered from Trustee’s violations of

  18   Rule 12, i.e., about $60k, Shao should not be issued any monetary

  19   sanction for a TRO made without following the procedural

  20   safeguard.

  21   Dated: September 22, 2005                                      Respectfully submitted,

  22                                                                  Linda Shao /s/

  23                                                                  ________________________
                                                                      Linda Shao
  24
                      SUPPORTING DECLARATION OF LINDA SHAO
  25   I, Linda Shao, declare that:
  26   1.   I am competent to testify if called as a witness. I have
            personal knowledge of the facts stated above or based on
  27
            information and belief which I believe as true as well.
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       2.   All factual statements above are true and accurate to the
            best of my knowledge. Attached is my letter to Ms.
   1
            Stromsheim sent out on May 11 complaining about not being
   2        served and about the late service of the TRO and sample
   3        pages showing Ms. Stromsheim faxing to me the TRO after 7:00
            p.m. of May 10, 2004.
   4
       I swear under the penalty of perjury under the laws of the U.S.
   5   that the foregoing is true and accurate. Executed on September
   6   22, 2005.

   7                                                                            Linda Shao /s/
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